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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
 Plaintiff,
                                                        CIVIL NO. 23-1392 (MBA)
                         v.

 BUGATI CHIRON (VIN#:
 VF9SP3V34JM795083),
 Defendants.


                               MOTION IN COMPLIANCE

        Comes now Defendant, through the undersigned counsel, and respectfully states

and prays as follows:

        On July 7, 2025, the Court issued an order directing the parties to state their

position by 5:00 p.m. today as to whether the conference should be vacated (Docket No.

79). In compliance with the Court’s order, Defendant respectfully submits that vacating

the status conference would be consistent with the requests to stay filed at Docket Nos.

65 and 78. Accordingly, Defendant asks that this Court vacate the status conference.

        For the reasons state above, Defendant respectfully requests that this Court vacate

the status conference.

        WE HEREBY CERTIFY that on this date, the foregoing was electronically filed

with the Clerk of the Court using CM/ECF system, which will send notification of such

filing to counsel of record.

        RESPECTFULLY SUBMITTED In San Juan, Puerto Rico, this 8th day of July

2025.
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                               Attorney for Defendant




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